                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


RAFAELA ESPINAL, Individually and On       Case No.
Behalf of All Others Similarly Situated,
                                           CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
                   Plaintiff,              SECURITIES LAWS
      v.

DIDI GLOBAL INC. F/K/A XIAOJU
KUAIZHI INC., WILL WEI CHENG, ALAN
YUE ZHUO, JEAN QING LIU, STEPHEN
JINGSHI ZHU, ZHIYI CHEN, MARTIN CHI
PING LAU, KENTARO MATSUI, ADRIA
PERICA, DANIEL YONG ZHANG,
GOLDMAN SACHS (ASIA) L.L.C.,
MORGAN STANLEY & CO. LLC, J.P.
MORGAN SECURITIES LLC, BOFA
SECURITIES, INC., BARCLAYS CAPITAL
INC., CHINA RENAISSANCE SECURITIES
(HONG KONG) LIMITED, CHINA
INTERNATIONAL CAPITAL
CORPORATION HONG KONG
SECURITIES LIMITED, CITIGROUP
GLOBAL MARKETS INC., GUOTAI
JUNAN SECURITIES (HONG KONG)
LIMITED, HSBC SECURITIES (USA) INC.,
UBS SECURITIES LLC, BOCCI ASIA
LIMITED, BOCOM INTERNATIONAL
SECURITIES LIMITED, CCB
INTERNATIONAL CAPITAL LIMITED,
CLSA LIMITED, CMB INTERNATIONAL
CAPITAL LIMITED, FUTU INC., ICBC
INTERNATIONAL SECURITIES LIMITED,
MIZUHO SECURITIES USA LLC, and
TIGER BROKERS (NZ) LIMITED,

                   Defendants.
       Plaintiff Rafaela Espinal (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, her counsel’s investigation,

which includes without limitation: (a) review and analysis of regulatory filings made by DiDi

Global Inc. f/k/a Xiaoju Kuaizhi Inc. (“DiDi” or the “Company”) with the United States (“U.S.”)

Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and

media reports issued by and disseminated by DiDi; and (c) review of other publicly available

information concerning DiDi.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired DiDi: (a) American Depositary Shares (“ADSs” or “shares”) pursuant and/or traceable

to the registration statement and prospectus (collectively, the “Registration Statement”) issued in

connection with the Company’s June 2021 initial public offering (“IPO” or the “Offering”);

and/or (b) securities between June 30, 2021 and July 2, 2021, inclusive (the “Class Period”).

Plaintiff pursues claims against the Defendants under the Securities Act of 1933 (the “Securities

Act”) and the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.      DiDi purports to be the world’s largest mobility technology platform. Its four key

components are: shared mobility, auto solutions, electronic mobility, and autonomous driving.

The Company claims to be the “go-to brand in China for shared mobility,” offering a range of

services including ride hailing, taxi hailing, chauffeur, and hitch.

       3.      On June 30, 2021, the Company filed its prospectus on Form 424B4 with the

SEC, which forms part of the Registration Statement. In the IPO, the Company sold

approximately 316,800,000 shares at a price of $14.00 per share. Four ADSs represent one Class
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A ordinary share. The Company received proceeds of approximately $4,331.6 million from the

Offering, net of underwriting discounts and commissions. The proceeds from the IPO were

purportedly to be used to invest in the Company’s technology capabilities, grow its presence in

certain international markets, introduce new products and expand existing offerings, and general

corporate purposes.

       4.        On July 2, 2021, the Cyberspace Administration of China (“CAC”) stated that it

had launched an investigation into DiDi to protect national security and the public interest. It also

reported that it had asked DiDi to stop new user registrations during the course of the

investigation.

       5.        On this news, the Company’s share price fell $0.87, or approximately 5.3%, to

close at $15.53 per share on July 2, 2021, on unusually heavy trading volume.

       6.        On Sunday, July 4, 2021, DiDi reported that the CAC ordered smartphone app

stores to stop offering the “DiDi Chuxing” app because it “collect[ed] personal information in

violation of relevant PRC laws and regulations.” Though users who previously downloaded the

app could continue to use it, DiDi stated that “the app takedown may have an adverse impact on

its revenue in China.”

       7.        On July 5, 2021, The Wall Street Journal reported that the CAC had asked the

Company as early as three months prior to the IPO to postpone the offering because of national

security concerns and to “conduct a thorough self-examination of its network security.”

       8.        On this news, the Company’s stock price fell $3.04 per share, or 19.6%, to close

at $12.49 per share on July 6, 2021, on unusually heavy trading volume.

       9.        By the commencement of this action, the Company’s stock was trading as low as

$12.06 per share, a nearly 14% decline from the $14 per share IPO price.



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       10.      The Registration Statement was materially false and misleading and omitted to

state material adverse facts. Throughout the Class Period, Defendants made materially false

and/or misleading statements, as well as failed to disclose material adverse facts about the

Company’s business, operations, and prospects. Specifically, Defendants failed to disclose to

investors: (1) that DiDi’s apps did not comply with applicable laws and regulations governing

privacy protection and the collection of personal information; (2) that, as a result, the Company

was reasonably likely to incur scrutiny from the Cyberspace Administration of China; (3) that the

CAC had already warned DiDi to delay its IPO to conduct a self-examination of its network

security; (4) that, as a result of the foregoing, DiDi’s apps were reasonably likely to be taken

down from app stores in China, which would have an adverse effect on its financial results and

operations; and (5) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects, were materially misleading and/or lacked a

reasonable basis.

       11.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                JURISDICTION AND VENUE

       12.      The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

Securities Act (15 U.S.C. §§ 77k and 77o), and Sections 10(b) and 20(a) of the Exchange Act

((15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R.

§ 240.10b-5).

       13.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the

Exchange Act ((15 U.S.C. §§ 78aa(c)).
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       14.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b).

       15.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       16.     Plaintiff Rafaela Espinal, as set forth in the accompanying certification,

incorporated by reference herein, purchased or otherwise acquired DiDi common stock pursuant

and/or traceable to the Registration Statement issued in connection with the Company’s IPO, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

       17.     Defendant DiDi is incorporated under the laws of the Cayman Islands with its

principal executive offices located in Beijing, China. DiDi’s shares trade on the New York Stock

Exchange under the symbol “DIDI.”

       18.     Defendant Will Wei Cheng (“Cheng”) was, at all relevant times, the Chairman of

the Board of Directors and the Chief Executive Officer (“CEO”) of the Company, and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       19.     Defendant Alan Yue Zhuo (“Zhuo”) was, at all relevant times, the Chief Financial

Officer (“CFO”) of the Company, and signed or authorized the signing of the Company’s

Registration Statement filed with the SEC.

       20.     Defendants Cheng and Zhuo (collectively the “Exchange Act Individual

Defendants”), because of their positions with the Company, possessed the power and authority to

control the contents of the Company’s reports to the SEC, press releases and presentations to

securities analysts, money and portfolio managers and institutional investors, i.e., the market.
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The Exchange Act Individual Defendants were provided with copies of the Company’s reports

and press releases alleged herein to be misleading prior to, or shortly after, their issuance and had

the ability and opportunity to prevent their issuance or cause them to be corrected. Because of

their positions and access to material non-public information available to them, the Exchange

Act Individual Defendants knew that the adverse facts specified herein had not been disclosed to,

and were being concealed from, the public, and that the positive representations which were

being made were then materially false and/or misleading.            The Exchange Act Individual

Defendants are liable for the false statements pleaded herein.

       21.     Defendant Jean Qing Liu (“Liu”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       22.     Defendant Stephen Jingshi Zhu (“Zhu”) was a director of the Company and

signed or authorized the signing of the Company’s Registration Statement filed with the SEC.

       23.     Defendant Zhiyi Chen (“Chen”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       24.     Defendant Martin Chi Ping Lau (“Lau”) was a director of the Company and

signed or authorized the signing of the Company’s Registration Statement filed with the SEC.

       25.     Defendant Kentaro Matsui (“Matsui”) was a director of the Company and signed

or authorized the signing of the Company’s Registration Statement filed with the SEC.

       26.     Defendant Adrian Perica (“Perica”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       27.     Defendant Daniel Yong Zhang (“Zhang”) was a director of the Company and

signed or authorized the signing of the Company’s Registration Statement filed with the SEC.




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       28.     Defendants Cheng, Zhuo, Liu, Zhu, Chen, Lau, Matsui, Perica, and Zhang are

collectively referred to hereinafter as the “Individual Defendants.”

       29.     Defendant Goldman Sachs (Asia) L.L.C. (“Goldman Sachs”) served as an

underwriter for the Company’s IPO.

       30.     Defendant Morgan Stanley & Co. LLC (“Morgan Stanley”) served as an

underwriter for the Company’s IPO.

       31.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter

for the Company’s IPO.

       32.     Defendant BofA Securities, Inc. (“BofA”) served as an underwriter for the

Company’s IPO.

       33.     Defendant Barclays Capital Inc. (“Barclays”) served as an underwriter for the

Company’s IPO.

       34.     Defendant China Renaissance Securities (Hong Kong) Limited (“China

Renaissance”) served as an underwriter for the Company’s IPO.

       35.     Defendant China International Capital Corporation Hong Kong Securities Limited

(“China International”) served as an underwriter for the Company’s IPO.

       36.     Defendant Citigroup Global Markets Inc. (“Citigroup”) served as an underwriter

for the Company’s IPO.

       37.     Defendant Guotai Junan Securities (Hong Kong) Limited (“Guotai”) served as an

underwriter for the Company’s IPO.

       38.     Defendant HSBC Securities (USA) Inc. (“HSBC”) served as an underwriter for

the Company’s IPO.




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       39.    Defendant UBS Securities LLC (“UBS”) served as an underwriter for the

Company’s IPO.

       40.    Defendant BOCI Asia Limited (“BOCI”) served as an underwriter for the

Company’s IPO.

       41.    Defendant BOCOM International Securities Limited (“BOCOM”) served as an

underwriter for the Company’s IPO.

       42.    Defendant CCB International Capital Limited (“CCB”) served as an underwriter

for the Company’s IPO.

       43.    Defendant CLSA Limited (“CLSA”) served as an underwriter for the Company’s

IPO.

       44.    Defendant CMB International Capital Limited (“CMB”) served as an underwriter

for the Company’s IPO.

       45.    Defendant Futu Inc. (“Futu”) served as an underwriter for the Company’s IPO.

       46.    Defendant ICBC International Securities Limited (“ICBC”) served as an

underwriter for the Company’s IPO.

       47.    Defendant Mizuho Securities USA LLC (“Mizuho”) served as an underwriter for

the Company’s IPO.

       48.    Defendant Tiger Brokers (NZ) Limited (“Tiger Brokers”) served as an

underwriter for the Company’s IPO.

       49.    Defendants Goldman Sachs, Morgan Stanley, J.P. Morgan, BofA, Barclays, China

Renaissance, China International, Citigroup, Guotai, HSBC, UBS, BOCI, BOCOM, CCB,

CLSA, CMB, Futu, ICBC, Mizuho, and Tiger Brokers are collectively referred to hereinafter as

the “Underwriter Defendants.”



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                               SUBSTANTIVE ALLEGATIONS

                                            Background

       50.     DiDi purports to be the world’s largest mobility technology platform. Its four key

components are: shared mobility, auto solutions, electronic mobility, and autonomous driving.

The Company claims to be the “go-to brand in China for shared mobility,” offering a range of

services including ride hailing, taxi hailing, chauffeur, and hitch.

                            The Company’s False and/or Misleading
                             Registration Statement and Prospectus

       51.     On June 10, 2021, the Company filed its Registration Statement on Form F-1 with

the SEC to register its Class A ordinary shares, which forms part of the Registration Statement.

       52.     On June 24, 2021, the Company filed its Registration Statement on Form F-6 with

the SEC to register its ADSs, which forms part of the Registration Statement.

       53.     On June 29, 2021, the Company filed its final amendment to the Registration

Statement with the SEC on Form F-1MEF, which forms part of the Registration Statement. The

Registration Statement was declared effective the same day.

       54.     On June 30, 2021, the Company filed its prospectus on Form 424B4 with the

SEC, which forms part of the Registration Statement. In the IPO, the Company sold

approximately 316,800,000 shares at a price of $14.00 per share. Four ADSs represent one Class

A ordinary share. The Company received proceeds of approximately $4,331.6 million from the

Offering, net of underwriting discounts and commissions. The proceeds from the IPO were

purportedly to be used to invest in the Company’s technology capabilities, grow its presence in

certain international markets, introduce new products and expand existing offerings, and general

corporate purposes.




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       55.     The Registration Statement was negligently prepared and, as a result, contained

untrue statements of material facts or omitted to state other facts necessary to make the

statements made not misleading, and was not prepared in accordance with the rules and

regulations governing its preparation.

       56.     Under applicable SEC rules and regulations, the Registration Statement was

required to disclose known trends, events or uncertainties that were having, and were reasonably

likely to have, an impact on the Company’s continuing operations.

       57.     The Registration Statement emphasized that DiDi relied on the market in China

for its operations. It stated that “China is the best starting place for realizing [DiDi’s] vision for

mobility” and that “China’s mobility market is expected to reach US$3.9 trillion by 2040, by

which time the penetration of shared mobility and electric vehicles is expected to have increased

to 35.9% and 50.2%, respectively . . . .”

       58.     DiDi also stated that “[i]n 2020, the number of ride hailing transactions from our

top five cities in China constituted approximately 20% of our total China ride hailing

transactions.” Therefore, “any changes to local laws or regulations within these cities that affect

[the Company’s] ability to operate or increase [its] operating expenses in these markets would

have an adverse effect on our business.”

       59.     The Company purportedly “follow[ed] strict procedures in collecting,

transmitting, storing and using user data pursuant to [its] data security and privacy policies.” In

fact, the Registration Statement claimed that DiDi “collect[s] personal information and other data

from [its] users and use such data in the course of [its] operations only with their prior consent.”

       60.     The Registration Statement also acknowledged that DiDi is “subject to numerous

laws and regulations that address privacy, data protection and the collection, storing, sharing,



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use, disclosure and protection of certain types of data in various jurisdictions . . . including the

Data Security Law promulgated by the Standing Committee of the National People's Congress of

China in June 2021, which will take effect in September 2021.” The Registration Statement also

stated the following rules promulgated by the Cyberspace Administration of China that apply to

DiDi, in relevant part:

          With respect to the security of information collected and used by mobile apps,
          pursuant to the Announcement of Conducting Special Supervision against the
          Illegal Collection and Use of Personal Information by Apps, which was issued by
          the Cyberspace Administration of China, the MIIT, the Ministry of Public
          Security, and the State Administration for Market Regulation on January 23,
          2019, app operators shall collect and use personal information in compliance with
          the Cyber Security Law and shall be responsible for the security of personal
          information obtained from users and take effective measures to strengthen
          personal information protection. Furthermore, app operators shall not force their
          users to make authorization by means of default settings, bundling, suspending
          installation or use of the app or other similar means and shall not collect personal
          information in violation of laws, regulations or breach of user agreements. Such
          regulatory requirements were emphasized by the Notice on the Special
          Rectification of Apps Infringing upon User's Personal Rights and Interests, which
          was issued by MIIT on October 31, 2019. On November 28, 2019, the
          Cyberspace Administration of China, the MIIT, the Ministry of Public Security
          and the State Administration for Market Regulation jointly issued the Methods of
          Identifying Illegal Acts of Apps to Collect and Use Personal Information. This
          regulation further illustrates certain commonly seen illegal practices of app
          operators in terms of personal information protection and specifies acts of app
          operators that will be considered as "collection and use of personal information
          without users' consen[t.]”

          61.    As to data privacy, the Registration Statement disclosed certain risks that could

affect the Company. Specifically, it stated, in relevant part:1

          Despite our efforts to comply with applicable laws, regulations and other
          obligations relating to privacy, data protection and information security, it is
          possible that our practices, offerings or platform could fail to meet all of the
          requirements imposed on us by such laws, regulations or obligations. Any
          failure on our part to comply with applicable laws or regulations or any other
          obligations relating to privacy, data protection or information security, or any
          compromise of security that results in unauthorized access, use or release of

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    Unless otherwise stated, all emphasis hereinafter is added.

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        personally identifiable information or other data, or the perception or allegation
        that any of the foregoing types of failure or compromise has occurred, could
        damage our reputation, discourage new and existing drivers and riders from using
        our platform or result in investigations, fines, suspension of one or more of our
        apps, or other penalties by government authorities and private claims or
        litigation, any of which could materially adversely affect our business, financial
        condition and results of operations. Even if our practices are not subject to legal
        challenge, the perception of privacy concerns, whether or not valid, may harm our
        reputation and brand and adversely affect our business, financial condition and
        results of operations.

        62.     Regarding regulatory oversight, the Registration Statement stated that in April

2021, it had participated in a meeting with Chinese regulators regarding compliance with anti-

monopoly, anti-unfair competition, tax, and other related laws. Following the meeting, the

Company conducted a self-examination as to certain issues, but the Registration Statement stated

that DiDi “cannot assure you that the regulatory authorities will be satisfied with our self-

inspection results or that we will not be subject to any penalty with respect to . . . privacy

protection.” Specifically, it stated:

        For example, in April 2021, the State Administration for Market Regulation,
        together with the Cyberspace Administration and the State Administration of
        Taxation, held a meeting with more than 30 major internet companies in China,
        including us. All companies that participated in the meeting were required to
        conduct a self-inspection within one month to identify and correct possible
        violations of anti-monopoly, anti-unfair competition, tax and other related laws
        and regulations and submit their compliance commitments for public supervision.
        As of the date of this prospectus, we have completed the self-inspection and the
        relevant governmental authorities have conducted onsite inspections of our
        company. Our self-inspection uncovered a number of areas which could be
        deemed problematic from the compliance perspective, including potential anti-
        competitive practices in certain ancillary services such as electric vehicle
        charging, disclosure of driver income and related policies, inaccurate
        marketing and promotional materials, potentially unfair pricing in the
        community group buying business which has ceased to be our consolidated
        subsidiary since March 31, 2021, and failure to make filings of certain
        transactions subject to merger control review. We have made efforts to correct or
        improve the above areas to ensure compliance to the extent we can. However, we
        cannot assure you that the regulatory authorities will be satisfied with our self-
        inspection results or that we will not be subject to any penalty with respect to
        any violations of anti-monopoly, anti-unfair competition, pricing, advertisement,
        privacy protection, food safety, product quality, tax and other related laws and
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       regulations. We expect that these areas will receive greater and continued
       attention and scrutiny from regulators and the general public going forward. As a
       result, we may be subject to additional inspections and/or investigations and may
       incur additional costs and expenses, devote more of our management's attention
       and allocate additional resources to comply with the relevant laws and regulations
       and other requirements of relevant government authorities.

       63.     The Registration Statement was materially false and misleading and omitted to

state: (1) that DiDi’s apps did not comply with applicable laws and regulations governing

privacy protection and the collection of personal information; (2) that, as a result, the Company

was reasonably likely to incur scrutiny from the Cyberspace Administration of China; (3) that the

CAC had already warned DiDi to delay its IPO to conduct a self-examination of its network

security; (4) that, as a result of the foregoing, DiDi’s apps were reasonably likely to be taken

down from app stores in China, which would have an adverse effect on its financial results and

operations; and (5) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects, were materially misleading and/or lacked a

reasonable basis.

                                Materially False and Misleading

                           Statement Issued During the Class Period

       64.     The Class Period begins on June 30, 2021. On that day, the Company filed its

Prospectus, which contained the statements alleged in ¶¶ 57-62.

       65.     The above statements identified in ¶ 64 were materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that DiDi’s

apps did not comply with applicable laws and regulations governing privacy protection and the

collection of personal information; (2) that, as a result, the Company was reasonably likely to

incur scrutiny from the Cyberspace Administration of China; (3) that the CAC had already


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warned DiDi to delay its IPO to conduct a self-examination of its network security; (4) that, as a

result of the foregoing, DiDi’s apps were reasonably likely to be taken down from app stores in

China, which would have an adverse effect on its financial results and operations; and (5) that, as

a result of the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects, were materially misleading and/or lacked a reasonable basis.

       66.     The truth began to emerge on July 2, 2021 when the CAC stated that it had

launched an investigation into DiDi to protect national security and the public interest.

       67.     On this news, the Company’s share price fell $0.87, or approximately 5.3%, to

close at $15.53 per share on July 2, 2021, on unusually heavy trading volume.

       68.     Also on July 2, 2021, DiDi issued a press release that stated:

       DiDi Global Inc. (“DiDi” or the “Company”) (NYSE: DIDI), the world’s leading
       mobility technology platform, today announced that pursuant to the
       announcement posted by the PRC’s Cyberspace Administration Office on July 2,
       2021, DiDi is subject to cybersecurity review by the authority. During the review,
       DiDi is required to suspend new user registration in China.

       DiDi will fully cooperate with the PRC government authority during the review.
       It plans to conduct a comprehensive examination of cybersecurity risks and
       continue to improve on its cybersecurity systems and technology capabilities.

       Apart from the suspension of new user registration in China, DiDi maintains
       normal operation.

       69.     The above statements identified in ¶ 68 were materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that DiDi’s

apps did not comply with applicable laws and regulations governing privacy protection and the

collection of personal information; (2) that the CAC had already warned DiDi to delay its IPO to

conduct a self-examination of its network security; (3) that, as a result of the foregoing, DiDi’s

apps were reasonably likely to be taken down from app stores in China, which would have an


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adverse effect on its financial results and operations; and (4) that, as a result of the foregoing,

Defendants’ positive statements about the Company’s business, operations, and prospects, were

materially misleading and/or lacked a reasonable basis.

                                  The Subsequent Disclosures

       70.     On Sunday, July 4, 2021, DiDi reported that the CAC ordered smartphone app

stores to stop offering the “DiDi Chuxing” app because it “collect[ed] personal information in

violation of relevant PRC laws and regulations.” The Company was ordered to make changes to

comply with Chinese data protection rules to “ensure the safety of the personal information of

users.” DiDi stated that it “will strive to rectify any problems, improve its risk prevention

awareness and technological capabilities, protect users’ privacy and data security, and continue

to provide secure and convenient services to its users.” Though users who previously

downloaded the app could continue to use it, DiDi stated that “the app takedown may have an

adverse impact on its revenue in China.”

       71.     On July 5, 2021, The Wall Street Journal reported that the CAC had asked the

Company as early as three months prior to the IPO to postpone the offering because of national

security concerns and to “conduct a thorough self-examination of its network security.”

       72.     On this news, the Company’s stock price fell $3.04 per share, or 19.6%, to close

at $12.49 per share on July 6, 2021, on unusually heavy trading volume.

       73.     By the commencement of this action, the Company’s stock was trading as low as

$12.06 per share, a nearly 14% decline from the $14 per share IPO price.

                              CLASS ACTION ALLEGATIONS

       74.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired DiDi: (a) ADSs issued in connection with the Company’s IPO;

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and/or (b) securities between June 30, 2021 and July 2, 2021, inclusive, and who were damaged

thereby (the “Class”). Excluded from the Class are Defendants, the officers and directors of the

Company, at all relevant times, members of their immediate families and their legal

representatives, heirs, successors, or assigns, and any entity in which Defendants have or had a

controlling interest.

        75.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, DiDi’s shares actively traded on the NYSE. While

the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of DiDi shares were traded publicly

during the Class Period on the NYSE. Record owners and other members of the Class may be

identified from records maintained by DiDi or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        76.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        77.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        78.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:




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                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of DiDi; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        79.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                UNDISCLOSED ADVERSE FACTS

        80.       The market for DiDi’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, DiDi’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired DiDi’s securities

relying upon the integrity of the market price of the Company’s securities and market

information relating to DiDi, and have been damaged thereby.

        81.       During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of DiDi’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

as set forth herein, not false and/or misleading. The statements and omissions were materially
                                                   16
false and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about DiDi’s business, operations, and prospects as alleged herein.

         82.   At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about DiDi’s financial well-being and prospects.            These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein when the truth was

revealed.

                                      LOSS CAUSATION

         83.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

         84.   During the Class Period, Plaintiff and the Class purchased DiDi’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.




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                                    SCIENTER ALLEGATIONS

       85.        As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Exchange Act Individual

Defendants, by virtue of their receipt of information reflecting the true facts regarding DiDi, their

control over, and/or receipt and/or modification of DiDi’s allegedly materially misleading

misstatements and/or their associations with the Company which made them privy to

confidential proprietary information concerning DiDi, participated in the fraudulent scheme

alleged herein.

                     APPLICABILITY OF PRESUMPTION OF RELIANCE

                            (FRAUD-ON-THE-MARKET DOCTRINE)

       86.        The market for DiDi’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, DiDi’s securities traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of DiDi’s securities and market information

relating to DiDi, and have been damaged thereby.

       87.        During the Class Period, the artificial inflation of DiDi’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

                                                   18
misleading statements about DiDi’s business, prospects, and operations.                These material

misstatements and/or omissions created an unrealistically positive assessment of DiDi and its

business, operations, and prospects, thus causing the price of the Company’s securities to be

artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company shares. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

       88.     At all relevant times, the market for DiDi’s securities was an efficient market for

the following reasons, among others:

               (a)     DiDi shares met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, DiDi filed periodic public reports with the SEC

and/or the NYSE;

               (c)     DiDi regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     DiDi was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms.        Each of these reports was publicly

available and entered the public marketplace.

       89.     As a result of the foregoing, the market for DiDi’s securities promptly digested

current information regarding DiDi from all publicly available sources and reflected such



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information in DiDi’s share price. Under these circumstances, all purchasers of DiDi’s securities

during the Class Period suffered similar injury through their purchase of DiDi’s securities at

artificially inflated prices and a presumption of reliance applies.

       90.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is

not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                       NO SAFE HARBOR

          91. The statutory safe harbor provided for forward-looking statements under certain

    circumstances does not apply to any of the allegedly false statements pleaded in this

    Complaint. The statements alleged to be false and misleading herein all relate to then-

    existing facts and conditions. In addition, to the extent certain of the statements alleged to be

    false may be characterized as forward looking, they were not identified as “forward-looking

    statements” when made and there were no meaningful cautionary statements identifying

    important factors that could cause actual results to differ materially from those in the

    purportedly forward-looking statements. In the alternative, to the extent that the statutory

    safe harbor is determined to apply to any forward-looking statements pleaded herein,

    Defendants are liable for those false forward-looking statements because at the time each of
                                                   20
    those forward-looking statements was made, the speaker had actual knowledge that the

    forward-looking statement was materially false or misleading, and/or the forward-looking

    statement was authorized or approved by an executive officer of DiDi who knew that the

    statement was false when made.

                                         FIRST CLAIM

                          Violation of Section 11 of the Securities Act
                                   (Against All Defendants)

       92.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

       93.     This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. §

77k, on behalf of the Class, against the Defendants.

       94.     The Registration Statement for the IPO was inaccurate and misleading, contained

untrue statements of material facts, omitted to state other facts necessary to make the statements

made not misleading, and omitted to state material facts required to be stated therein.

       95.     DiDi is the registrant for the IPO. The Defendants named herein were responsible

for the contents and dissemination of the Registration Statement.

       96.     As issuer of the shares, DiDi is strictly liable to Plaintiff and the Class for the

misstatements and omissions.

       97.     None of the Defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the Registration

Statement was true and without omissions of any material facts and were not misleading.

       98.     By reasons of the conduct herein alleged, each Defendant violated, and/or

controlled a person who violated Section 11 of the Securities Act.




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        99.     Plaintiff acquired DiDi shares pursuant and/or traceable to the Registration

Statement for the IPO.

        100.    Plaintiff and the Class have sustained damages. The value of DiDi shares has

declined substantially subsequent to and due to the Defendants’ violations.

                                        SECOND CLAIM

                            Violation of Section 15 of the Securities Act
                               (Against the Individual Defendants)

        101.    Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

        102.    This count is asserted against the Individual Defendants and is based upon Section

15 of the Securities Act.

        103.    The Individual Defendants, by virtue of their offices, directorship, and specific

acts were, at the time of the wrongs alleged herein and as set forth herein, controlling persons of

DiDi within the meaning of Section 15 of the Securities Act. The Individual Defendants had the

power and influence and exercised the same to cause DiDi to engage in the acts described herein.

        104.    The Individual Defendants’ positions made them privy to and provided them with

actual knowledge of the material facts concealed from Plaintiff and the Class.

        105.    By virtue of the conduct alleged herein, the Individual Defendants are liable for

the aforesaid wrongful conduct and are liable to Plaintiff and the Class for damages suffered.

                                          THIRD CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                   Against DiDi and the Exchange Act Individual Defendants

        106.    Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

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       107.    During the Class Period, DiDi and the Exchange Act Individual Defendants

carried out a plan, scheme and course of conduct which was intended to and, throughout the

Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; and (ii) cause Plaintiff and other members of the Class to purchase DiDi’s

securities at artificially inflated prices. In furtherance of this unlawful scheme, plan and course

of conduct, DiDi and the Exchange Act Individual Defendants, and each defendant, took the

actions set forth herein.

       108.    DiDi and the Exchange Act Individual Defendants (i) employed devices, schemes,

and artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state

material facts necessary to make the statements not misleading; and (iii) engaged in acts,

practices, and a course of business which operated as a fraud and deceit upon the purchasers of

the Company’s securities in an effort to maintain artificially high market prices for DiDi’s

securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5. DiDi and the

Exchange Act Individual Defendants are sued either as primary participants in the wrongful and

illegal conduct charged herein or as controlling persons as alleged below.

       109.    DiDi and the Exchange Act Individual Defendants, individually and in concert,

directly and indirectly, by the use, means or instrumentalities of interstate commerce and/or of

the mails, engaged and participated in a continuous course of conduct to conceal adverse

material information about DiDi’s financial well-being and prospects, as specified herein.

       110.    DiDi and the Exchange Act Individual Defendants employed devices, schemes

and artifices to defraud, while in possession of material adverse non-public information and

engaged in acts, practices, and a course of conduct as alleged herein in an effort to assure

investors of DiDi’s value and performance and continued substantial growth, which included the



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making of, or the participation in the making of, untrue statements of material facts and/or

omitting to state material facts necessary in order to make the statements made about DiDi and

its business operations and future prospects in light of the circumstances under which they were

made, not misleading, as set forth more particularly herein, and engaged in transactions,

practices and a course of business which operated as a fraud and deceit upon the purchasers of

the Company’s securities during the Class Period.

       111.    Each of the DiDi and the Exchange Act Individual Defendants’ primary liability

and controlling person liability arises from the following facts: (i) the Exchange Act Individual

Defendants were high-level executives and/or directors at the Company during the Class Period

and members of the Company’s management team or had control thereof; (ii) each of these

defendants, by virtue of their responsibilities and activities as a senior officer and/or director of

the Company, was privy to and participated in the creation, development and reporting of the

Company’s internal budgets, plans, projections and/or reports; (iii) each of these defendants

enjoyed significant personal contact and familiarity with the other defendants and was advised

of, and had access to, other members of the Company’s management team, internal reports and

other data and information about the Company’s finances, operations, and sales at all relevant

times; and (iv) each of these defendants was aware of the Company’s dissemination of

information to the investing public which they knew and/or recklessly disregarded was

materially false and misleading.

       112.    DiDi and the Exchange Act Individual Defendants had actual knowledge of the

misrepresentations and/or omissions of material facts set forth herein, or acted with reckless

disregard for the truth in that they failed to ascertain and to disclose such facts, even though such

facts were available to them. Such defendants’ material misrepresentations and/or omissions



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were done knowingly or recklessly and for the purpose and effect of concealing DiDi’s financial

well-being and prospects from the investing public and supporting the artificially inflated price

of its securities. As demonstrated by DiDi and the Exchange Act Individual Defendants’

overstatements and/or misstatements of the Company’s business, operations, financial well-

being, and prospects throughout the Class Period, DiDi and the Exchange Act Individual

Defendants, if they did not have actual knowledge of the misrepresentations and/or omissions

alleged, were reckless in failing to obtain such knowledge by deliberately refraining from taking

those steps necessary to discover whether those statements were false or misleading.

       113.    As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

DiDi’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by DiDi and the Exchange Act Individual

Defendants, or upon the integrity of the market in which the securities trades, and/or in the

absence of material adverse information that was known to or recklessly disregarded by DiDi

and the Exchange Act Individual Defendants, but not disclosed in public statements by DiDi and

the Exchange Act Individual Defendants during the Class Period, Plaintiff and the other

members of the Class acquired DiDi’s securities during the Class Period at artificially high prices

and were damaged thereby.

       114.    At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that DiDi was experiencing, which were not disclosed by Defendants, Plaintiff and other



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members of the Class would not have purchased or otherwise acquired their DiDi securities, or,

if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

        115.    By virtue of the foregoing, DiDi and the Exchange Act Individual Defendants

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        116.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                         FOURTH CLAIM

                           Violation of Section 20(a) of The Exchange Act
                          Against the Exchange Act Individual Defendants

        117.    Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        118.    The Exchange Act Individual Defendants acted as controlling persons of DiDi

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their

high-level positions and their ownership and contractual rights, participation in, and/or

awareness of the Company’s operations and intimate knowledge of the false financial statements

filed by the Company with the SEC and disseminated to the investing public, the Exchange Act

Individual Defendants had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading. The

Exchange Act Individual Defendants were provided with or had unlimited access to copies of the

Company’s reports, press releases, public filings, and other statements alleged by Plaintiff to be




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misleading prior to and/or shortly after these statements were issued and had the ability to

prevent the issuance of the statements or cause the statements to be corrected.

       119.    In particular, the Exchange Act Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

       120.    As set forth above, DiDi and the Exchange Act Individual Defendants each

violated Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint.

By virtue of their position as controlling persons, Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful

conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of the Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

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Dated: July 6, 2021   By: /s/ Gregory B. Linkh
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                      Attorneys for Plaintiff Rafaela Espinal




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                   SWORN CERTIFICATION OF PLAINTIFF
             DIDI GLOBAL INC. (DIDI) SECURITIES LITIGATION


   I, Rafaela Espinal, certify that:

   1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
           Plaintiff motion on my behalf.

   2.      I did not purchase the DiDi Global Inc. securities that are the subject of this action
           at the direction of plaintiff’s counsel or in order to participate in any private action
           arising under this title.

   3.      I am willing to serve as a representative party on behalf of a class and will testify
           at deposition and trial, if necessary.

   4.      My transactions in DiDi Global Inc. securities during the Class Period set forth in
           the Complaint are as follows:

           (See attached transactions)

   5.      I have not sought to serve, nor served, as a representative party on behalf of a
           class under this title during the last three years, except for the following:

   6.      I will not accept any payment for serving as a representative party, except to
           receive my pro rata share of any recovery or as ordered or approved by the court,
           including the award to a representative plaintiff of reasonable costs and expenses
           (including lost wages) directly relating to the representation of the class.


   I declare under penalty of perjury that the foregoing are true and correct statements.




7/6/2021
________________                           _________________________________________
     Date                                  Rafaela Espinal
Rafaela Espinal's Transactions in DiDi Global Inc. (DIDI)
Date      Transaction Type       Quantity       Unit Price
7/1/2021        Bought                    620       $16.1400
7/1/2021        Bought                    237       $16.7000
7/1/2021        Bought                    266       $16.7100
7/1/2021        Bought                      5       $16.7200
7/1/2021        Bought                    249       $16.7500
7/1/2021        Bought                      4       $16.7100
7/1/2021        Bought                    332       $16.6000
7/1/2021        Bought                    526       $16.3200
7/1/2021        Bought                      1       $16.4300
7/1/2021        Bought                    910       $16.2700
7/1/2021        Bought                     22       $16.2800
7/1/2021        Bought                      5       $16.2100
7/2/2021        Bought                     77       $15.4000
7/2/2021        Bought                    250       $15.4100
7/2/2021        Bought                      3       $15.5000
7/2/2021        Bought                    326       $15.3500
7/2/2021         Sold                  -2,930       $15.0900
7/2/2021         Sold                     -70       $15.1000
7/2/2021         Sold                    -225       $15.0700
7/2/2021         Sold                    -175       $15.0700
7/2/2021         Sold                    -233       $15.1100
7/2/2021         Sold                    -200       $15.0000
